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Counsel to the Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                               ) Case No. 20-12345 (MG)
                                                     )
THE ROMAN CATHOLIC DIOCESE OF                        ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                          )
                                                     )
                              Debtor.                )
                                                     )


     CERTIFICATION OF NO OBJECTION REGARDING (1) TWENTY-NINTH
 MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES LLP FOR
   PROFESSIONAL SERVICES RENDERED AND DISBURSEMENTS INCURRED
  AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
 FOR THE PERIOD FROM MAY 1, 2023 THROUGH MAY 31, 2023; AND (2) THIRTY-
     FIRST MONTHLY FEE STATEMENT OF BURNS BAIR LLP, AS SPECIAL
    INSURANCE COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
           CREDITORS FOR PROFESSIONAL SERVICES RENDERED
         AND DISBURSEMENTS INCURRED FOR THE PERIOD FROM
                  MAY 1, 2023 THROUGH MAY 31, 2023


         Pursuant to 28 U.S.C. § 1746 and Rule 9075-2 of the Local Bankruptcy Rules for the

Southern District of New York, the undersigned counsel for the Official Committee of

Unsecured Creditors (the “Committee”) hereby certifies as follows:




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        1.       On November 4, 2020, this Court entered the Order Authorizing Procedures for

Interim Compensation and Reimbursement of Expenses of Professionals [Docket No. 129] (the

“Interim Compensation Order”),1 which authorized professionals retained pursuant to an order of

this Court in the chapter 11 case to seek interim payment of compensation and reimbursement of

expenses in accordance with the procedures set forth in the Interim Compensation Order.

        2.       On June 30, 2023, the Committee filed the following:

                     For Pachulski Stang Ziehl & Jones LLP (“PSZJ”): Twenty-Ninth Monthly
                      Fee Statement of Pachulski Stang Ziehl & Jones LLP for Professional
                      Services Rendered and Disbursements Incurred as Counsel to the Official
                      Committee of Unsecured Creditors for the Period from May 1, 2023 through
                      May 31, 2023 [Docket No. 2222] (the “PSZJ Monthly Fee Statement”); and

                     For Burns Bair LLP: Thirty-First Monthly Fee Statement of Burns Bair LLP,
                      as Special Insurance Counsel to the Official Committee of Unsecured
                      Creditors for Professional Service Rendered May 1, 2023 through May 31,
                      2023 [Docket No. 2223] (together with the PSZJ Monthly Fee Statement, the
                      “Monthly Fee Statements”).


        3.       The Monthly Fee Statements were served on June 30, 2023 [Docket No. 2225].

        4.       The Monthly Fee Statements complied with the requirements set forth in the

Interim Compensation Order.

        5.       Pursuant to the Interim Compensation Order, July 17, 2023 was the deadline to

object to the Monthly Fee Statements (the “Objection Deadline”). As of the filing of this

Certification of No Objection, more than forty-eight (48) hours have elapsed since the Objection

Deadline. To the best of my knowledge, no responses to the Monthly Fee Statements have been

filed with the Court on the docket of the above-captioned chapter 11 case, or (b) served on PSZJ.

        6.       Pursuant to the Interim Compensation Order, upon filing of this Certification of

No Objection, the Debtor is authorized to pay eighty percent (80%) of the fees and one hundred


1
 Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Interim
Compensation Order.

                                                         2
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percent (100%) of the expenses requested in the Monthly Fee Statements and without the need

for entry of a Court order approving the Monthly Fee Statements.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.


Dated: July 21, 2023                          PACHULSKI STANG ZIEHL & JONES LLP


                                              /s/ Gillian N. Brown
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                                              Creditors




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